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 Attorneys for Defendants

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re                                                  Chapter 7
         TRANSCARE CORPORATION, et al.,                 Case No. 16-10407 (SMB)
                                                   1
                                       Debtors.         (Jointly Administered)
 SALVATORE LAMONICA, as Chapter 7 Trustee
 for the Estates of TransCare Corporation, et al.,      Adv. Proc. No. 18-01021
                               Plaintiff,
          v.
 LYNN TILTON, et al.,
                               Defendants.


               NOTICE OF APEARANCE AND REQUEST FOR SERVICE

         PLEASE TAKE NOTICE that Proskauer Rose LLP hereby appears in the above-

captioned adversary proceeding (the “Adversary Proceeding”) pursuant to Rules 2002 and 9010

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) on behalf of the

defendants in the Adversary Proceeding, Lynn Tilton, Patriarch Partners Agency Services, LLC

(“PPAS”), Patriarch Partners, LLC (“Patriarch Partners”), Patriarch Partners Management

Group, LLC (“PPMG”), Ark II CLO 2001-1, Limited (“ARK II”), Ark Investment Partners II,
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L.P. (“AIP II”), LD Investments, LLC, Patriarch Partners II, LLC, Patriarch Partners III, LLC ,

Patriarch Partners VIII, LLC, Patriarch Partners XIV, LLC, Patriarch Partners XV, LLC,

Transcendence Transit, Inc. (“TT”), and Transcendence Transit II, Inc. (“TT II”, and together

with TT, “Transcendence”) (collectively, “Defendants”), as their attorneys.

       PLEASE TAKE FURTHER NOTICE that the Defendants request, pursuant to

Bankruptcy Rules 2002, 9007, and 9010, that all notices given or required to be given in this

Adversary Proceeding and all papers served or required to be served in this Adversary

Proceeding, be given to and served upon the undersigned at the following office address,

telephone number, and email addresses:

       Michael T. Mervis
       Timothy Q. Karcher
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       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules specified above, but also includes,

without limitation, orders and notices of any application, motion, petition, pleading, request,

complaint or demand, whether formal or informal, whether written or oral, and whether

transmitted or conveyed by mail, delivery, telephone, telegraph, telefax, facsimile transmission,

e-mail or otherwise, which affect the Defendants.



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       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Notice shall not be deemed or construed to be a waiver of the rights: (1) to have final orders in

non-core matters entered only after de novo review by a United States District Court Judge; (2)

to trial by jury in any proceeding so triable in this case or in any cases, controversy, or

proceeding related to this case; (3) to have the United States District Court withdraw the

reference in any matter subject to mandatory or discretionary withdrawal; or (4) to any other

rights, claims, actions, setoffs, or recoupments to which the Defendants are or may be entitled.


Dated: May 4, 2018
       New York, New York

                                               By: /s/ Michael T. Mervis
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                                               Timothy Q. Karcher
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                                               Attorneys for Defendants




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